       EXHIBIT B




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Turbocell - Factory, Suppliers, Manufacturers From China

Our business aims to operating faithfully, ser ving to all of our clients , and working in new technology and new machine continuously for Turbocell, Haywa
Controller Pcb , Goldline Motherboard , Hayward Goldline Control Panel ,Hayward Swimpure Plus Circuit Board . Our intention should be to assist customer
goals. We have been creating terrific endeavours to obtain this win-win circumstance and sincerely welcome you to definitely join us! The product will sup
world, such as Europe, America, Australia,Spain , Sacramento ,Malta , Boston .Based on our automatic production line, steady material purchase channel a
systems have been built in mainland China to meet customer's wider and higher requirement in recent years. We are looking for ward to cooperating with m
for common development and mutual benefit!Your trust and approval are the best reward for our efforts. Keeping honest, innovative and efficient, we sinc
can be business partners to create our brilliant future!




Related Products




                                                                    Swimming Pool Saltwater               B l u e w o r k s B LT 1 5 H S a l t C e l   Blueworks
                                                                    System BLSC                                                                        Display Cir

                                                                                                                                                       
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                                                                                       BLUE WORKS BLH-Y                     Blueworks Cell Cleaning                 Blueworks
                                                                                       Saltwater Generator                  Stand Compatible with                   Va r i a b l e S p
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                    BLUE WORKS BLH40 Saltwater                                                  Blueworks BLFS Flow Switch                                 Blueworks BLRC
                    Generator Chlorinator for 40K




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      Afra 2021.03.17 08:32:38                                                                                           Joanna 2020.11.04 07:01:27
      The customer service staff's attitude is very sincere and the reply is timely and very detailed, this is           High Quality, High Efficiency, Creative and Integrity, worth having long-te
      very helpful for our deal,thank you.                                                                               forward to the future cooperation!




      Marjorie 2020.08.29 22:17:08                                                                                       Isabel 2020.05.03 16:42:29
      The factory technical staff not only have high level of technology, their English level is also very               The company has a good reputation in this industry, and finally it tured ou
      good, this is a great help to technology communication.                                                            good choice.




      Chloe 2020.04.12 12:10:37                                                                                          Carol 2019.12.02 18:30:46
      This is a honest and trustworthy company, technology and equipment are very advanced and the                       This manufacturers not only respected our choice and requirements, but a
      prodduct is very adequate, there is no worry in the suppliment.                                                    suggestions, ultimately， we successfully completed the procurement tas




Related Search

  Goldline Controls 066012c-1              Pool Ionizer Anode           Balboa Spa Pack            Hayward Goldline Controls Aql-Ps-4             Goldline Aquarite Board


  Salt Cell Control Board Hayward T-Cell 15               Hayward Wireless Motherboard                 Hayward Goldline Control Panel           Gix-Pcb Main Board            Hayward Aquarite


  Aqualogic Goldline Controls




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 Getting started   /   Turbo Salt Cell




Turbo Salt Cell - Manufacturers, Factory, Suppliers From China

"Sincerity, Innovation, Rigorousness, and Efficiency" could be the persistent conception of our organization for your long-term to establish alongside one a
for mutual reciprocity and mutual benefit for Turbo Salt Cell, Goldline Controls 066008g , Hayward Pool Controller Lcd Display , Hayward Glx-Ctl-Rite ,Hay
Board . Welcome your enquir y, best ser vice will be provided with full heart. The product will supply to all over the world, such as Europe, America, Austra
,United Arab Emirates , Moscow .We have gained a lot of recognition among customers spread all across the world. They trust us and always give repetitiv
mentioned below are some of the major factors that have played significant role in our tremendous growth in this domain.




Related Products




                                                                     Blueworks BLRC Salt Cell              Blueworks BLPTC Salt Cell             Blueworks
                                                                                                                                                 Cell




                                                                                                                                               
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                                                                                   Stand Compatible with                                                            System BL
                                                                                   H      d® A    i ®




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                       Blueworks PCB Main and Display                                       Salt Chlorinator BLPT                                             Blueworks BLPVS
                       Circuit Board                                                                                                                          Speed Pump




                       BLUE WORKS BLH-Y Saltwater                                           Blueworks BLFS Flow Switch                                        BLUE WORKS BL
                       Generator Chlorinator                                                                                                                  Generator Chlorin




                       B l u e w o r k s B LT 1 5 H S a l t C e l




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      Nora 2021.02.06 00:15:35                                                                                           Edward 2020.12.29 14:10:09
      As a veteran of this industry, we can say that the company can be a leader in the industry, select                 This is a very professional and honest Chinese supplier, from now on we
      them is right.                                                                                                     Chinese manufacturing.




      Alex 2020.11.03 05:33:10                                                                                           Janet 2020.08.16 20:03:04
      The company has a good reputation in this industry, and finally it tured out that choose them is a                 Factory equipment is advanced in the industry and the product is fine wor
      good choice.                                                                                                       price is very cheap, value for money!




      Nicole 2020.07.27 14:45:26                                                                                         Ryan 2020.04.01 20:51:41
      Hope that the company could stick to the enterprise spirit of "Quality, Efficiency, Innovation and                 We always believe that the details decides the company's product quality
      Integrity", it will be better and better in the future.                                                            company conform our requirements and the goods are meet our expectat




Related Search

   Goldline Controls         Hayward Pcb Board                Hayward Goldline Aquarite Board              Hayward Replacement Circuit Board            Hayward H150fdn Control Board


   Hayward H150fdn Control Board              Hayward Aquarite Salt System Main Board                 Hayward Aquarite Control Board              Aquarite Main Board          Aqua Rite Circuit


   Hayward Aquarite Goldline Circuit Board




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Turbocell - China Factory, Suppliers, Manufacturers

We also present product or ser vice sourcing and flight consolidation products and ser vices. We have our possess manufacturing facility and sourcing plac
easily supply you with almost ever y type of product or ser vice connected to our item variety for Turbocell, Goldline Controls , Hayward Salt Pcb , Hayward
,Hayward Salt Control Board . We focus on generating own brand and in combination with a lot of experienced expression and first-class equipment . Our
The product will supply to all over the world, such as Europe, America, Australia,Bangladesh , Mombasa ,Dominica , Cologne .We warmly welcome you to
personally. We hope to establish a long-term friendship based on equality and mutual benefit. If you want to get in touch with us, please do not hesitate t
best choice.




Related Products




                                                                     Blueworks PCB Main and                Swimming Pool Saltwater               Blueworks
                                                                     Display Circuit Board                 System BLSC                           Stand Com
                                                                                                                                                 H      d®

                                                                                                                                               
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Top Selling Products


                         B l u e w o r k s B LT 1 5 H S a l t C e l                            Blueworks BLPTC Salt Cell                         BLUE WORKS BL
                                                                                                                                                 Generator Chlorin




                         Blueworks BLRC Salt Cell                                              Blueworks BLFS Flow Switch                        BLUE WORKS BL




                         Salt Chlorinator BLPT




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        Reviews



      Elma 2021.01.25 05:58:40                                                                                          Jerry 2020.09.03 03:34:33
      The factory has advanced equipment, experienced staffs and good management level, so product                      Good quality and fast delivery, it's very nice. Some products have a little b
      quality had assurance, this cooperation is very relaxed and happy!                                                supplier replaced timely, overall, we are satisfied.




      Sandy 2020.08.17 16:05:16                                                                                         Sara 2020.07.19 21:31:47
      The supplier cooperation attitude is very good, encountered various problems, always willing to                   The company comply with the contract strict, a very reputable manufactu
      cooperate with us, to us as the real God.                                                                         cooperation.




      Maxine 2020.06.17 05:22:07                                                                                        Daisy 2020.02.28 20:41:33
      We are long-term partners, there is no disappointment every time, we hope to maintain this                        It can be said that this is a best producer we encountered in China in this
      friendship later!                                                                                                 work with so excellent manufacturer.




Related Search

  Spa Control Board          Sun Shock Solar Pool Ionizer           Pcb Programming Board               Hayward Aqualogic Board              Aquarite Salt Board           Pool Pump           Aqu


  Hayward Pool Controller Lcd Display             Hayward Glx-Pcb-Dsp Aqua-Rite Pcb Display                  Aqua Rite Control Panel            Goldline Controls




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     Salt Chlorinator


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                                              Swimming Pool Saltwater                     BLUE WORKS BLH40                  BLUE WORKS BLH
                                                  System BLSC                              Saltwater Generator               Saltwater Generato

                Swimming Pool
                Saltwater System
                BLSC



                Salt Chlorinator
                BLPT




                                               Salt Chlorinator BLPT




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 Getting started   /   Aqua Right Salt System




Aqua Right Salt System - Manufacturers, Factory, Suppliers From China

Always customer-oriented, and it's our ultimate goal to get not only by far the most reputable, trustable and honest supplier, but also the partner for our
Right Salt System, Glx-Pcb-Rite Circuit Board , Hayward Aquarite Pcb , Remington Copper Anode ,Aquarite Pcb Main Circuit Board Replacement . We welco
customers from all walks of lifetime to speak to us for future organization relationships and mutual achievement! The product will supply to all over the w
America, Australia,Spain , Mexico ,Spain , Honduras .Many years of work experience, we have realized the importance of providing good quality products a
sales and after-sales ser vices. Most problems between suppliers and clients are due to poor communication. Culturally, suppliers can be reluctant to ques
understand. We break down those barriers to ensure you get what you want to the level you expect, when you want it. faster deliver y time and the produc
Criterion .




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                                                                      Cell                                                                            Saltwater G

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                                                                                      Display Circuit Board                                                                     Saltwater G
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                    Blueworks BLPTC Salt Cell                                                  B l u e w o r k s B LW 1 T C E L L H S a l t C e l l                   B l u e w o r k s B LT 1 5




                    Blueworks Cell Cleaning Stand                                              Salt Chlorinator BLPT                                                  Blueworks BLFS F
                    Compatible with Hayward®




                    B l u e w o r k s B L P V S 1 5 1 5 H Va r i a b l e
                    Speed Pump

                                                                                                                                                                             
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      Jonathan 2021.03.03 14:50:44                                                                                       Eve 2020.06.14 21:06:21
      In China, we have many partners, this company is the most satisfying to us, reliable quality and                   It's really lucky to find such a professional and responsible manufacturer,
      good credit, it is worth appreciation.                                                                             good and delivery is timely, very nice.




      Marina 2020.04.10 01:59:19                                                                                         Jill 2020.04.06 05:43:08
      On this website, product categories is clear and rich, I can find the product I want very quickly and              It's really lucky to find such a professional and responsible manufacturer,
      easily, this is really very good!                                                                                  good and delivery is timely, very nice.




      Sarah 2019.12.20 00:15:58                                                                                          Mamie 2019.11.13 12:17:27
      Company director has very rich management experience and strict attitude, sales staff are warm                     Reasonable price, good attitude of consultation, finally we achieve a win-
      and cheerful, technical staff are professional and responsible,so we have no worry about product,…                 cooperation!




Related Search

  Salt Cell For Pool Hayward T-Cell 15             Hayward H400 Control Board               Hayward Prologic Board             Hayward Goldline Pcb             Aquarite Control Board


  Hayward Heater Display Board              Aquarite Goldline Replacement Board               Goldline Controls 066008g               Used Hayward Display            Saltwater Ionizer For Abov


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